       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 1 of 18



 1 IRELL & MANELLA LLP
   Jason G. Sheasby (CA SBN 205455)
 2 jsheasby@irell.com
   Andrew J. Strabone (CA SBN 301659)
 3
   astrabone@irell.com
 4 Yanan Zhao (CA SBN 337864)
   yzhao@irell.com
 5 Michael W. Tezyan (CA SBN 334915)
   mtezyan@irell.com
 6 1800 Avenue of the Stars, Suite 900
   Los Angeles, California 90067
 7
   Telephone: (310) 277-1010
 8 Facsimile: (310) 203-7199

 9 Attorneys for Plaintiff Netlist, Inc.

10

11

12                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
13
                                   SAN FRANCISCO DIVISION
14
     NETLIST, INC.,                         )   Case No. 3:09-cv-05718-RS
15                                          )
                           Plaintiff,       )   PLAINTIFF NETLIST, INC.’S REPLY TO
16          v.                              )   DEFENDANT GOOGLE LLC’S
                                            )   AMENDED ANSWER AND ASSERTION
17 GOOGLE LLC,                              )   OF COUNTERCLAIMS
                                            )
18                                          )
                           Defendant.       )   JURY TRIAL DEMANDED
19                                          )
20

21

22

23

24

25

26
27

28

                                                                 Netlist’s Reply to Google’s Amended Answer
                                                                               and Assertion of Counterclaims
                                                                                      Case No. 09-cv-5718-RS
        Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 2 of 18



 1             Plaintiff Netlist, Inc. (“Netlist”), by and through its undersigned counsel, hereby files its

 2 Reply to Defendant Google LLC’s (“Google”) Amended Answer and Assertion of Counterclaims

 3
     (Dkt. 264), as follows.1
 4
                                  REPLY TO AFFIRMATIVE DEFENSES
 5
                                                  First Defense
 6
               1.     Netlist denies the allegations of Paragraph 1 of the Affirmative Defenses.
 7
                                                 Second Defense
 8
               2.     Netlist denies the allegations of Paragraph 2 of the Affirmative Defenses.
 9
                                                 Third Defense
10
               3.     Netlist denies the allegations of Paragraph 3 of the Affirmative Defenses.
11
                                                 Fourth Defense
12
               4.     Netlist denies the allegations of Paragraph 4 of the Affirmative Defenses.
13
               5.     Netlist incorporates by reference its responses to Paragraphs 17-34 of the Affirmative
14
     Defenses and Paragraphs 18-44 of the Counterclaims as if set forth fully herein.
15
               6.     Netlist denies the allegations of Paragraph 6 of the Affirmative Defenses, and
16
     incorporates by reference its responses to Paragraphs 18-44 of the Counterclaims as if set forth fully
17
     herein.
18
               7.     Netlist denies the allegations of Paragraph 7 of the Affirmative Defenses, and
19
     incorporates by reference its responses to Paragraphs 17-34 of the Affirmative Defenses as if set
20
     forth fully herein.
21
                                                  Fifth Defense
22
               8.     The allegations of Paragraph 8 of the Affirmative Defenses state a legal conclusion
23
     to which no response is required. To the extent a response is required, Netlist denies the allegations
24
     of Paragraph 8 of the Affirmative Defenses.
25

26
               1
           For ease of reference, the paragraph numbers used herein conform to those recited in
27 Google’s Amended Answer and Assertion of Counterclaims. Portions of the headings used in the
   Google’s Amended Answer and Assertion of Counterclaims are also included herein, for
28 convenience only; their inclusion is not intended as an express or implied admission of any facts.

                                                                                Netlist’s Reply to Google’s Amended Answer

                                                       -1-
                                                                                              and Assertion of Counterclaims
                                                                                                     Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 3 of 18



 1          9.     Netlist does not have sufficient information to respond as to Google’s purchases of

 2 the accused products, and on this basis denies the allegations of Paragraph 9 of the Affirmative

 3 Defenses.

 4          10.    Netlist does not have sufficient information to respond as to Google’s purchases of

 5 the accused products, and on this basis denies the allegations of Paragraph 10 of the Affirmative

 6 Defenses.

 7          11.    The allegations of Paragraph 11 of the Affirmative Defenses state a legal conclusion

 8 to which no response is required. To the extent a response is required, Netlist denies the allegations

 9 of Paragraph 11 of the Affirmative Defenses.

10                                             Sixth Defense

11          12.    Netlist denies the allegations of Paragraph 12 of the Affirmative Defenses.

12                                           Seventh Defense

13          13.    Netlist denies the allegations of Paragraph 13 of the Affirmative Defenses.

14                                            Eighth Defense

15          14.    Netlist denies the allegations of Paragraph 14 of the Affirmative Defenses.

16                                             Ninth Defense

17          15.    Netlist denies the allegations of Paragraph 15 of the Affirmative Defenses.

18                                            Tenth Defense

19          16.    Netlist denies the allegations of Paragraph 16 of the Affirmative Defenses.

20                                           Eleventh Defense

21          17.    Netlist denies the allegations of Paragraph 17 of the Affirmative Defenses.

22          18.    Netlist admits the allegations of Paragraph 18 of the Affirmative Defenses.

23          19.    Netlist admits the allegations of Paragraph 19 of the Affirmative Defenses.

24          20.    Netlist admits the allegations of Paragraph 20 of the Affirmative Defenses.

25          21.    Netlist admits that on October 21, 2010, a third request for inter partes reexamination

26 of claims 1, 3-4, 6-11, 15, 18-22, 24-25, 27-29, 31-34, 36-39, 41-45, and 50 of the ’912 patent was
27 filed by Google. Netlist further admits that on January 14, 2011, and January 18, 2011, the Examiner

28 issued decisions granting reexamination of certain claims, and that the decisions speak for

                                                                              Netlist’s Reply to Google’s Amended Answer

                                                    -2-
                                                                                            and Assertion of Counterclaims
                                                                                                   Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 4 of 18



 1 themselves. Except as expressly admitted, Netlist denies the allegations of Paragraph 21 of the

 2 Affirmative Defenses.

 3          22.    Netlist admits the allegations of Paragraph 22 of the Affirmative Defenses.

 4          23.    Netlist admits that the Examiner issued a non-final office action on April 4, 2011,

 5 which, inter alia, rejected the proposed grounds for rejection as to claim 16. Netlist further admits

 6 that Netlist filed a response to the April 4, 2011 non-final office action on July 5, 2011; that Google

 7 filed a response on August 29, 2011; that the Examiner issued a non-final office action on October

 8 14, 2011; that Netlist filed a response to the October 14, 2011 non-final office action on January 14,

 9 2012; that Google filed a response on February 23, 2012; and that these documents speak for

10 themselves. Except as expressly admitted, Netlist denies the allegations of Paragraph 23 of the

11 Affirmative Defenses.

12          24.    Netlist admits that the Examiner issued a non-final office action on November 13,

13 2012; that Netlist filed a response to the November 13, 2012 office action on January 14, 2013; that

14 Google filed a response on February 13, 2013; and that these documents speak for themselves.

15 Except as expressly admitted, Netlist denies the allegations of Paragraph 24 of the Affirmative

16 Defenses.

17          25.    Netlist admits that the Examiner issued an Action Closing Prosecution on March 21,

18 2014; that the Examiner issued a Right of Appeal Notice on June 18, 2014; that Google filed a

19 Notice of Appeal on July 18, 2014; and that Netlist filed a Notice of Cross Appeal on July 30, 2014;

20 and that these documents speak for themselves. Except as expressly admitted, Netlist denies the

21 allegations of Paragraph 25 of the Affirmative Defenses.

22          26.    Netlist admits that the Patent Trial and Appeal Board (“Board”) issued a decision in

23 Appeal No. 2015-006849 on June 6, 2016 and that the decision speaks for itself. Except as expressly

24 admitted, Netlist denies the allegations of Paragraph 26 of the Affirmative Defenses.

25          27.    Netlist admits that Netlist filed a response requesting to reopen prosecution on July

26 31, 2016, and that the document speaks for itself. Except as expressly admitted, Netlist denies the
27 allegations of Paragraph 27 of the Affirmative Defenses.

28

                                                                              Netlist’s Reply to Google’s Amended Answer

                                                     -3-
                                                                                            and Assertion of Counterclaims
                                                                                                   Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 5 of 18



 1           28.   Netlist admits that the Examiner issued an office action bearing the title

 2 “Determination Under 37 CFR § 41.77(d),” on October 3, 2017 and that the document speaks for

 3 itself.   Except as expressly admitted, Netlist denies the allegations of Paragraph 28 of the

 4 Affirmative Defenses.

 5           29.   Netlist admits that the Board issued a decision in Appeal No. 2018-003618 on July

 6 27, 2018; that the Board issued a decision on rehearing in Appeal No. 2018-003618 on January 31,

 7 2019; and that the decisions speak for themselves. Except as expressly admitted, Netlist denies the

 8 allegations of Paragraph 29 of the Affirmative Defenses.

 9           30.   Netlist admits that Netlist submitted its responsive appeal brief to the Federal Circuit

10 in Appeal No. 2019-01720 on December 12, 2019; that the Federal Circuit issued a decision on June

11 15, 2020; and that these documents speak for themselves. Except as expressly admitted, Netlist

12 denies the allegations of Paragraph 30 of the Affirmative Defenses.

13           31.   Netlist admits that Netlist submitted its responses to Google’s Interrogatories Nos.

14 18-20 on August 11, 2021 and that Netlist’s responses speak for themselves. Except as expressly

15 admitted, Netlist denies the allegations of Paragraph 31 of the Affirmative Defenses.

16           32.   Netlist admits that Netlist filed its Opposition to Google’s Motion for Summary

17 Judgment on the Issue of Absolute Intervening Rights (Dkts. 196, 197) on September 3, 2021 and

18 that the brief speaks for itself. Except as expressly admitted, Netlist denies the allegations of

19 Paragraph 32 of the Affirmative Defenses.

20           33.   Netlist denies the allegations of Paragraph 33 of the Affirmative Defenses.

21           34.   Netlist denies the allegations of Paragraph 34 of the Affirmative Defenses.

22                                            Twelfth Defense

23           35.   Netlist incorporates by reference its responses to the preceding paragraphs as if set

24 forth fully herein.

25           36.   Netlist denies the allegations of Paragraph 36 of the Affirmative Defenses.

26           37.   Netlist denies the allegations of Paragraph 37 of the Affirmative Defenses.

27

28

                                                                              Netlist’s Reply to Google’s Amended Answer

                                                    -4-
                                                                                            and Assertion of Counterclaims
                                                                                                   Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 6 of 18



 1          38.      Netlist admits that on February 8, 2021, the PTO issued a reexamination certificate

 2 for the ’912 patent and that the reexamination certificate speaks for itself. Except as expressly

 3 admitted, Netlist denies the allegations of Paragraph 38 of the Affirmative Defenses.

 4                                    REPLY TO COUNTERCLAIMS

 5                                                The Parties

 6          1.       Netlist admits that Google has asserted that it is a corporation organized and existing

 7 under the laws of the state of Delaware. Netlist does not have sufficient information to respond as

 8 to the location of Google’s principal place of business, and on this basis denies.

 9          2.       Netlist admits that it is a corporation organized and existing under the laws of the

10 state of Delaware, and that at the time the Complaint was filed, its principal place of business was

11 51 Discovery in Irvine, California 92618, but now it is 111 Academy Way, Suite 100, in Irvine,

12 California 92617.

13                                         Jurisdiction and Venue

14          3.       Netlist admits that Google alleges that, subject to Google’s affirmative defenses and

15 denials, this Court has jurisdiction over the subject matter of these Counterclaims under, without

16 limitation, 28 U.S.C. §§ 1331, 1367, 1338(a), 2201, and 2202, and that Google alleges that venue

17 for these Counterclaims is proper in this district.

18          4.       Netlist admits the allegations in Paragraph 4.

19                                           Factual Background

20          5.       Netlist admits the allegations in Paragraph 5 of the Counterclaims.

21          6.       Netlist denies the allegations of Paragraph 6 of the Counterclaims.

22          7.       Netlist admits that there is an actual case or controversy concerning Google’s

23 infringement of the ’912 patent. Except as expressly admitted, Netlist denies the allegations of

24 Paragraph 7 of the Counterclaims.

25                                               COUNT ONE

26                Declaratory Judgment of Non-Infringement of U.S. Patent No. 7,619,912
27          8.       Netlist incorporates by reference its responses to paragraphs 1-7 of the

28 Counterclaims as if set forth fully herein.

                                                                                Netlist’s Reply to Google’s Amended Answer

                                                      -5-
                                                                                              and Assertion of Counterclaims
                                                                                                     Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 7 of 18



 1          9.     Netlist admits that there is an actual case or controversy concerning Google’s

 2 infringement of the ’912 patent. Except as expressly admitted, Netlist denies the allegations of

 3 Paragraph 9 of the Counterclaims.

 4          10.    Netlist denies the allegations of Paragraph 10 of the Counterclaims.

 5          11.    Netlist denies the allegations of Paragraph 11 of the Counterclaims.

 6          12.    Netlist denies that this is an exceptional case under 35 U.S.C. § 285 because Netlist

 7 filed its Complaint with knowledge of the facts stated in Google’ Counterclaims.

 8                                               COUNT TWO

 9                  Declaratory Judgment of Invalidity of U.S. Patent No. 7,619,912

10          13.    Netlist incorporates by reference its responses to paragraphs 1-12 of the

11 Counterclaims as if set forth fully herein.

12          14.    Netlist denies the allegations of Paragraph 14 of the Counterclaims.

13          15.    Netlist denies the allegations of Paragraph 15 of the Counterclaims.

14          16.    Netlist denies the allegations of Paragraph 16 of the Counterclaims.

15          17.    Netlist denies that this is an exceptional case under 35 U.S.C. § 285 because Netlist

16 filed its Complaint with knowledge of the facts stated in Google’s Counterclaims.

17                                           COUNT THREE

18                                     Fraud/Deceit/Concealment

19          18.    Netlist denies the allegations of Paragraph 18 of the Counterclaims.

20          19.    Netlist admits that there have been periods of time during which it has been a member

21 of JEDEC.

22          20.    Netlist admits that Google asserts that it has been a member of JEDEC since 2006.

23          21.    Netlist denies the allegations of Paragraph 21 of the Counterclaims.

24          22.    Netlist denies the allegations of Paragraph 22 of the Counterclaims.

25          23.    Netlist admits that JEDEC has a process by which attendees can confirm their

26 attendance at particular JEDEC meetings.         Except as expressly admitted, Netlist denies the

27 remaining allegations of Paragraph 23 of the Counterclaims.

28

                                                                            Netlist’s Reply to Google’s Amended Answer

                                                    -6-
                                                                                          and Assertion of Counterclaims
                                                                                                 Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 8 of 18



 1         24.     Netlist admits that the application for the ’912 patent was filed on September 27,

 2 2007. Netlist also admits that the application for the ’912 patent is a continuation of U.S. Patent

 3 Application 11/173,175, which was filed on July 1, 2005 and issued as U.S. Patent No. 7,289,386,

 4 and a continuation-in-part of U.S. Application No. 11/075,395, filed on Mar. 7, 2005, now U.S.

 5 Patent No. 7,286,436. Netlist further admits that the application for the ’912 patent claims the

 6 benefit of U.S. Provisional Patent Application No. 60/588,244, filed on July 15, 2004, U.S.

 7 Provisional Patent Application No. 60/550,668, filed on March 5, 2004, and U.S. Provisional Patent

 8 Application No. 60/575,595, filed on May 28, 2004. Except as expressly admitted, Netlist denies

 9 the remaining allegations of Paragraph 24 of the Counterclaims.

10         25.     Netlist admits that a set of June 2007 minutes of the JEDEC JC-45 Committee

11 meeting refer to an “FYI Showing” made by Intel concerning an “AMB Quad Rank Support”

12 proposal. Netlist also admits that a set of minutes which appear to be for an August 2007 meeting

13 of a JEDEC JC-45 Committee, but which also bear the dates “August 29-30, 2006,” refer to a

14 discussion by Intel concerning “FBDIMM Quad Rank SPD Bytes.” Netlist further admits that a set

15 of December 2007 minutes of a JEDEC JC-45 Committee meeting refer to a ballot review for an

16 “FB DIMM Quad Rank SPD Bytes” proposal. Except as expressly admitted, Netlist denies the

17 remaining allegations of Paragraph 25 of the Counterclaims.

18         26.     Netlist admits that the names Mario Martinez, Hyun Lee, and Jeff Solomon appear

19 on a set of minutes for a June 2007 JEDEC JC-45 committee meeting and that the same set of

20 minutes refers to an “FYI Showing’’ made by Intel concerning an “AMB Quad Rank Support”

21 proposal. Netlist also admits that the same meeting minutes state that “[i]n response to a question

22 by the secretary, Mr. Tsang (Intel) indicated that IP filings are likely and he will pursue this

23 information. He further indicated that Intel would likely be willing to meet the JEDEC RAND terms

24 for any such IP.” Netlist further admits that Jeff Solomon is a named inventor on the ’386 and ’912

25 patents. Except as expressly admitted, Netlist denies the allegations of Paragraph 26 of the

26 Counterclaims.
27         27.     Netlist admits that the name Mario Martinez appears on a set of JEDEC JC-45

28 meeting minutes which appear to be for the period August 29-30, 2007, but which also bear the

                                                                           Netlist’s Reply to Google’s Amended Answer

                                                   -7-
                                                                                         and Assertion of Counterclaims
                                                                                                Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 9 of 18



 1 dates “August 29-30, 2006.” Netlist also admits that the same meeting minutes reference a

 2 discussion by Intel concerning an “FB DIMM Quad Rank SPO Bytes” proposal. Netlist further

 3 admits that the meeting minutes state “Motion by Intel and seconded by Netlist to authorize the SPD

 4 task group to issue a committee ballot on the material.” Except as expressly admitted, Netlist denies

 5 the allegations of Paragraph 27 of the Counterclaims.

 6         28.     Netlist admits that the name Mario Martinez appears on a set of meeting minutes for

 7 a December 2007 JEDEC JC-45 committee meeting and that the same set of meeting minutes

 8 references a ballot for an “FBDIMM Quad Rank SPD Bytes” proposal and states that ‘‘Netlist

 9 indicated that it may have some IP that may apply to the quad rank logic and DIMM designs. Netlist

10 will abide by the JEDEC patent policy and provide a RAND letter in a timely manner.” Netlist also

11 admits that JEDEC Committee Ballot Records indicate that on or before November 28, 2007, a vote

12 was taken on an “FBDIMM Quad Rank SPD Bytes” proposal sponsored by Micron and that the

13 same Committee Ballot Records state that “Netlist may have some IP that might apply to any Quad

14 Rank logic and DiMM design ballots. Netlist will abide by the JEDEC patent policy and will

15 provide a RAND letter in a timely manner.” Netlist additionally admits that the name Mario

16 Martinez appears on a set of meeting minutes for a December 2007 JEDEC JC-40 committee

17 meeting and that the same set of meeting minutes references a ballot for an “AMB Quad Rank

18 Support” proposal and states that “Netlist indicated that it may have some IP that may apply to the

19 ballot material-Mr. Martinez indicated that Netlist will abide by the JEDEC patent policy and a

20 RAND letter will be provided in a timely manner.” Netlist further admits that JEDEC Committee

21 Ballot Records indicate that on or before November 29, 2007, a vote was taken on an “AMB Quad

22 Rank Support Standard” sponsored by Intel. Netlist further admits that the same Committee Ballot

23 Records state that “Netlist may have some IP that might apply to any Quad Rank logic and DiMM

24 design ballots. Netlist will abide by the JEDEC patent policy and will provide a RAND letter in a

25 timely manner.” Except as expressly admitted, Netlist denies the allegations of Paragraph 28 of the

26 Counterclaims.
27         29.     Netlist admits that on January 8, 2008, Jayesh Bhakta sent a letter on behalf of Netlist

28 to Mian Quddus, which bears the subject line “Re: U.S. Patent No. 7,289,386,” and that the letter

                                                                              Netlist’s Reply to Google’s Amended Answer

                                                    -8-
                                                                                            and Assertion of Counterclaims
                                                                                                   Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 10 of 18



 1 speaks for itself. Netlist further admits that Jayesh Bhakta is a named inventor on the ’386 and ’912

 2 patents. Except as expressly admitted, Netlist denies the allegations of Paragraph 29 of the

 3 Counterclaims.

 4          30.    Netlist admits that at least certain portions of an Intel proposal for AMB Quad Rank

 5 Support were incorporated in a JEDEC Standard bearing the standard number JESD82-20A. Except

 6 as expressly admitted, Netlist denies the allegations of Paragraph 30 of the Counterclaims.

 7          31.    Netlist admits that on April 1, 2010, Netlist submitted a letter addressed to Mr. John

 8 Kelly, the President of JEDEC, and that the letter speaks for itself. Except as expressly admitted,

 9 Netlist denies the allegations of Paragraph 31 of the Counterclaims.

10          32.    Netlist admits that on April 1, 2010, Netlist submitted a letter addressed to Mr. John

11 Kelly, the President of JEDEC, and that the letter speaks for itself. Except as expressly admitted,

12 Netlist denies the allegations of Paragraph 32 of the Counterclaims.

13          33.    Netlist admits that on November 22, 2010, Netlist submitted a License Assurance

14 and Disclosure Form for, inter alia, the ’912 patent and that the License Assurance and Disclosure

15 Form speaks for itself. Except as expressly admitted, Netlist denies the allegations of Paragraph 33

16 of the Counterclaims.

17          34.    Netlist admits that on December 6, 2010, Netlist submitted a letter to JEDEC and

18 that the letter speaks for itself. Except as expressly admitted, Netlist denies the allegations of

19 Paragraph 34 of the Counterclaims.

20          35.    Netlist admits that according to the May 2, 2011 Board of Director Meeting Minutes,

21 JEDEC’s Board of Directors held a meeting, and that the Board of Director Meeting Minutes speak

22 for themselves. Except as expressly admitted, Netlist denies the allegations of Paragraph 35 of the

23 Counterclaims.

24          36.    Netlist admits that on September 7, 2011, Netlist’s outside counsel Sean

25 Cunningham submitted a letter addressed to Mr. John Kelly, the President of JEDEC, and that the

26 letter speaks for itself. Except as expressly admitted, Netlist denies the allegations of Paragraph 36
27 of the Counterclaims.

28          37.    Netlist denies the allegations of Paragraph 37 of the Counterclaims.

                                                                             Netlist’s Reply to Google’s Amended Answer

                                                    -9-
                                                                                           and Assertion of Counterclaims
                                                                                                  Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 11 of 18



 1          38.    Netlist admits that on June 18, 2021, Netlist served amended infringement

 2 contentions in this case, and that the amended infringement contentions state: “Claim 16 of the ’912

 3 Patent: The memory modules incorporated in Google’s servers include, without limitation, memory

 4 modules compliant with certain portions of the JEDEC Solid State Technology Association

 5 (‘JEDEC’) standards and specifications for Double Data Rate 4 (‘DDR4’) Synchronous DRAM

 6 (‘SDRAM’) Registered Dual In-Line Memory Modules (‘RDIMMs’), DDR4 SDRAM Load

 7 Reduced Dual In-Line Memory Modules (‘LRDIMMs’) and DDR4 SDRAM Non-Volatile Dual In-

 8 Line Memory Modules (‘NVDIMMs’), and products that operate in substantially similar manner.”

 9 Except as expressly admitted, Netlist denies the remaining allegations of Paragraph 38 of the

10 Counterclaims.

11          39.    Netlist denies the allegations of Paragraph 39 of the Counterclaims.

12          40.    The allegations of Paragraph 40 state a legal conclusion to which no response is

13 required. To the extent a response is required, Netlist denies the allegations of Paragraph 40 of the

14 Counterclaims.

15          41.    Netlist denies the allegations of Paragraph 41 of the Counterclaims.

16          42.    Netlist denies the allegations of Paragraph 42 of the Counterclaims.

17          43.    Netlist denies the allegations of Paragraph 43 of the Counterclaims.

18          44.    Netlist denies the allegations of Paragraph 44 of the Counterclaims.

19                                           COUNT FOUR

20                                     Negligent Misrepresentation

21          45.    Netlist incorporates by reference its responses to paragraphs 18-43 of the

22 Counterclaims as if set forth fully herein.

23          46.    Netlist denies the allegations of Paragraph 46 of the Counterclaims.

24          47.    The allegations of Paragraph 47 state a legal conclusion to which no response is

25 required. To the extent a response is required, Netlist denies the allegations of Paragraph 47 of the

26 Counterclaims.
27          48.    Netlist denies the allegations of Paragraph 48 of the Counterclaims.

28          49.    Netlist denies the allegations of Paragraph 49 of the Counterclaims.

                                                                            Netlist’s Reply to Google’s Amended Answer
                                                                                          and Assertion of Counterclaims
                                                   - 10 -                                        Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 12 of 18



 1          50.    Netlist admits that Netlist has alleged infringement by Google of the ’912 patent in

 2 bringing this action. Except as expressly admitted, Netlist denies the remaining allegations of

 3 Paragraph 50 of the Counterclaims.

 4          51.    Netlist denies the allegations of Paragraph 51 of the Counterclaims.

 5                                               COUNT FIVE

 6                                          Breach of Contract

 7          52.    Netlist incorporates by reference its responses to paragraphs 18-51 of the

 8 Counterclaims as if set forth fully herein.

 9          53.    Netlist admits that JEDEC has a process by which attendees can confirm their

10 attendance at particular JEDEC meetings.         Except as expressly admitted, Netlist denies the

11 allegations of Paragraph 53 of the Counterclaims.

12          54.    The allegations of Paragraph 54 state a legal conclusion to which no response is

13 required. To the extent a response is required, Netlist denies the allegations of Paragraph 54 of the

14 Counterclaims.

15          55.    The allegations of Paragraph 55 state a legal conclusion to which no response is

16 required. To the extent a response is required, Netlist denies the allegations of Paragraph 55 of the

17 Counterclaims.

18          56.    The allegations of Paragraph 56 state a legal conclusion to which no response is

19 required. To the extent a response is required, Netlist denies the allegations of Paragraph 56 of the

20 Counterclaims.

21          57.    The allegations of Paragraph 57 state a legal conclusion to which no response is

22 required. To the extent a response is required, Netlist denies the allegations of Paragraph 57 of the

23 Counterclaims.

24          58.    The allegations of Paragraph 58 state a legal conclusion to which no response is

25 required. To the extent a response is required, Netlist denies the allegations of Paragraph 58 of the

26 Counterclaims.
27

28

                                                                            Netlist’s Reply to Google’s Amended Answer
                                                                                          and Assertion of Counterclaims
                                                    - 11 -                                       Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 13 of 18



 1          59.    The allegations of Paragraph 59 state a legal conclusion to which no response is

 2 required. To the extent a response is required, Netlist denies the allegations of Paragraph 59 of the

 3 Counterclaims.

 4          60.    The allegations of Paragraph 60 state a legal conclusion to which no response is

 5 required. To the extent a response is required, Netlist denies the allegations of Paragraph 60 of the

 6 Counterclaims.

 7                                               COUNT SIX

 8                   Unfair Competition (CAL. Bus. & Prof. Code § 17200 et seq.)

 9          61.    Netlist incorporates by reference its responses to paragraphs 18-60 of the

10 Counterclaims as if set forth fully herein.

11          62.    The allegations of Paragraph 62 state a legal conclusion to which no response is

12 required. To the extent a response is required, Netlist denies the allegations of Paragraph 62 of the

13 Counterclaims.

14          63.    Netlist denies the allegations of Paragraph 63 of the Counterclaims.

15          64.    Netlist denies the allegations of Paragraph 64 of the Counterclaims.

16          65.    The allegations of Paragraph 65 state a legal conclusion to which no response is

17 required. To the extent a response is required, Netlist denies the allegations of Paragraph 65 of the

18 Counterclaims.

19                                 GOOGLE’S PRAYER FOR RELIEF

20          Netlist denies that Google is entitled to any relief requested in its Prayer for Relief.

21                              NETLIST’S AFFIRMATIVE DEFENSES

22                                  FIRST AFFIRMATIVE DEFENSE

23          The Counterclaims fail to state any claims upon which relief can be granted.

24                                SECOND AFFIRMATIVE DEFENSE

25          The Counterclaims are barred, in whole or in part, under principles of equity including, but

26 not limited to, waiver, estoppel, acquiescence, laches, and/or unclean hands.
27

28

                                                                                Netlist’s Reply to Google’s Amended Answer
                                                                                              and Assertion of Counterclaims
                                                     - 12 -                                          Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 14 of 18



 1                                 THIRD AFFIRMATIVE DEFENSE

 2          Google has failed to make reasonable efforts to mitigate its damages, if any, in whole or in

 3 part.

 4                                FOURTH AFFIRMATIVE DEFENSE

 5          Google has failed to take reasonable and necessary steps to avoid damages, if any, alleged

 6 in the Counterclaims.

 7                                 FIFTH AFFIRMATIVE DEFENSE

 8          Google at all times gave its consent, expressly or impliedly, to any and all acts, omissions,

 9 representations and course of conduct of Netlist alleged in the Counterclaims.

10                                 SIXTH AFFIRMATIVE DEFENSE

11          Google is not entitled to recovery of its reasonable costs and expense of litigation.

12                               SEVENTH AFFIRMATIVE DEFENSE

13          Some or all of the Counterclaims are barred in that Netlist has fully performed under any

14 contract, obligation, or agreement alleged therein.

15                                EIGHTH AFFIRMATIVE DEFENSE

16          The Counterclaims are not exceptional under 35 U.S.C. §285, and Google is not entitled to

17 recovery of attorneys’ fees, expert witness fees, or costs.

18                                 NINTH AFFIRMATIVE DEFENSE

19          Google lacks standing to sue on the allegations contained in its Counterclaims.

20                                 TENTH AFFIRMATIVE DEFENSE

21          The Counterclaims are ambiguous and uncertain.

22                              ELEVENTH AFFIRMATIVE DEFENSE

23          The Counterclaims are barred in that Google ratified, consented to, had knowledge of, and

24 approved, ratified and accepted the actions in question with full knowledge of the facts and matters

25 of which Google now complains.

26                               TWELFTH AFFIRMATIVE DEFENSE
27          Google has expressly or impliedly by operation of law excused Netlist from any and all

28 obligations, if any relating to the subject matter of the Counterclaims.

                                                                              Netlist’s Reply to Google’s Amended Answer
                                                                                            and Assertion of Counterclaims
                                                    - 13 -                                         Case No. 09-cv-5718-RS
      Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 15 of 18



 1                            THIRTEENTH AFFIRMATIVE DEFENSE

 2         The Counterclaims fail to state facts upon which relief may be granted, and Google is barred

 3 from recovery therein by reason of a failure of a condition precedent.

 4                           FOURTEENTH AFFIRMATIVE DEFENSE

 5         The failure of conditions subsequent to the allegations contained in the Counterclaims

 6 discharge Netlist’s obligations to Google.

 7                             FIFTEENTH AFFIRMATIVE DEFENSE

 8         The Counterclaims fail to state facts upon which relief may be granted, and Google is barred

 9 from any recovery therein on the grounds that Netlist was and is justified in its non-performance in

10 that Google did not perform in accordance with the terms and conditions of the contract alleged in

11 the Counterclaims.

12                             SIXTEENTH AFFIRMATIVE DEFENSE

13         Google is barred in whole or in part from any recovery in that Google voluntarily and

14 knowingly exposed itself to the alleged conditions that gave rise to the Counterclaims and assumed

15 the risk of all harm and damages as are complained of in the Counterclaims.

16                           SEVENTEENTH AFFIRMATIVE DEFENSE

17         Google is barred in whole or in part from any recovery in that Google, its agents and/or

18 employees were negligent and/or guilty of other intentional misconduct or conduct which was

19 unlawful and/or tortuous which did directly, legally and/or proximately cause and or contribute to

20 the incident complained of in the Counterclaims and any damages suffered, if any there were, were

21 the direct lawful and proximate result to the conduct of Google and its agents and/or employees and

22 not Netlist.

23                            EIGHTEENTH AFFIRMATIVE DEFENSE

24         Some or all of the Counterclaims are barred in that Netlist has fully performed under any

25 contract, obligation, or agreement alleged therein.

26
27

28

                                                                            Netlist’s Reply to Google’s Amended Answer
                                                                                          and Assertion of Counterclaims
                                                  - 14 -                                         Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 16 of 18



 1                            NINETEENTH AFFIRMATIVE DEFENSE

 2          Google has failed to take reasonable and necessary steps to avoid its damages, if any, alleged

 3 in the Counterclaims. To the extent such damages, if any, were incurred, Google’s recovery, if any,

 4 should be reduced accordingly.

 5                             TWENTIETH AFFIRMATIVE DEFENSE

 6          The Counterclaims are barred, in whole or in part, by the applicable statute of limitations.

 7                           TWENTY FIRST AFFIRMATIVE DEFENSE

 8          The Counterclaims fail to state facts upon which relief may be granted, and Google is barred

 9 from recovery of punitive and/or exemplary damages therein on the grounds such damages

10 constitute an excessive fine in violation of the Eighth and Fourteenth Amendments of the

11 Constitution of the United States, by Article One, Section 17 of the California State Constitution,

12 and as an unjust and drastic interference with a fundamental right guaranteed to all people in the

13 State and Nation.

14                          RESERVATION OF ADDITIONAL DEFENSES

15          Discovery in this action is ongoing and Netlist continues to investigate the allegations set

16 forth in the Counterclaims. Netlist specifically gives notice that it intends to rely upon such other

17 defenses as may become available by law, or pursuant to statute, or discovery proceedings in this

18 case, and hereby reserves the right to assert such additional defenses.

19                                           Prayer for Relief

20          WHEREFORE, Netlist prays as follows:

21          a.     That the Counterclaims are dismissed in their entirety, with prejudice;

22          b.     That Netlist be awarded its costs, attorneys’ fees and such other and further relief as

23                 may be just and proper.

24

25          Dated: May 24, 2022                   Respectfully submitted,

26                                                IRELL & MANELLA LLP

27                                                By: /s/ Jason Sheasby

28                                                    Jason G. Sheasby

                                                                              Netlist’s Reply to Google’s Amended Answer
                                                                                            and Assertion of Counterclaims
                                                    - 15 -                                         Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 17 of 18



 1                                                      jsheasby@irell.com
                                                        Andrew J. Strabone
 2                                                      astrabone@irell.com
                                                        Yanan Zhao
 3
                                                        yzhao@irell.com
 4                                                      Michael W. Tezyan
                                                        mtezyan@irell.com
 5
                                                        IRELL & MANELLA LLP
 6                                                      1800 Avenue of the Stars, Suite 900
                                                        Los Angeles, California 90067
 7

 8                                                      Attorneys for Plaintiff Netlist, Inc.

 9

10                                     DEMAND FOR JURY TRIAL
11          In accordance with Rule 38 of the Federal Rules of Civil Procedure, Netlist, Inc. respectfully
12 demands a jury trial of all issues triable to a jury in this action.

13

14
     Dated: May 24, 2022                            Respectfully submitted,
15
                                                    IRELL & MANELLA LLP
16
                                                    By: /s/ Jason Sheasby
17
                                                        Jason G. Sheasby
18                                                      jsheasby@irell.com
19                                                      Andrew J. Strabone
                                                        astrabone@irell.com
20                                                      Yanan Zhao
                                                        yzhao@irell.com
21                                                      Michael W. Tezyan
                                                        mtezyan@irell.com
22

23                                                      IRELL & MANELLA LLP
                                                        1800 Avenue of the Stars, Suite 900
24                                                      Los Angeles, California 90067

25                                                      Attorneys for Plaintiff Netlist, Inc.
26
27

28

                                                                                 Netlist’s Reply to Google’s Amended Answer
                                                                                               and Assertion of Counterclaims
                                                      - 16 -                                          Case No. 09-cv-5718-RS
       Case 3:09-cv-05718-RS Document 283 Filed 05/24/22 Page 18 of 18



 1                                     CERTIFICATE OF SERVICE

 2          I hereby certify that on May 24, 2022, I caused the electronic filing of the foregoing with the
 3 Clerk of the Court using the CM/ECF system which will automatically email notification of such filing

 4
     to all counsel of record who have made a formal appearance.
 5

 6
                                                  By: /s/ Jason Sheasby
 7
                                                      Jason G. Sheasby
 8                                                    jsheasby@irell.com
 9                                                    Andrew J. Strabone
                                                      astrabone@irell.com
10                                                    Yanan Zhao
                                                      yzhao@irell.com
11                                                    Michael W. Tezyan
                                                      mtezyan@irell.com
12

13                                                    IRELL & MANELLA LLP
                                                      1800 Avenue of the Stars, Suite 900
14                                                    Los Angeles, California 90067

15                                                    Attorneys for Plaintiff Netlist, Inc.
16

17

18

19

20

21

22

23

24

25

26
27

28

                                                                               Netlist’s Reply to Google’s Amended Answer
                                                                                             and Assertion of Counterclaims
                                                    - 17 -                                          Case No. 09-cv-5718-RS
